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                              EXHIBIT 7
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                                                                         Page 1
                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF OHIO
                             EASTERN DIVISION
                                  - - -

          IN RE: NATIONAL                     :HON. DAN A. POLSTER
          PRESCRIPTION OPIATE                 :
          LITIGATION                          :MDL NO. 2804
                                              :
          APPLIES TO ALL CASES                :NO.
                                              :1:17-MD-2804
                            - HIGHLY CONFIDENTIAL -
                SUBJECT TO FURTHER CONFIDENTIALITY REVIEW
                                     - - -
                                December 14, 2018
                                     - - -
                              Videotaped sworn deposition of
                     COLLEEN McGINN, taken pursuant to
                     notice, was held at GOLKOW LITIGATION
                     SERVICES, One Liberty Place, 1650 Market
                     Street, Philadelphia, Pennsylvania,
                     beginning at 9:39 a.m., on the above
                     date, before Margaret M. Reihl, a
                     Registered Professional Reporter,
                     Certified Shorthand Reporter, Certified
                     Realtime Reporter, and Notary Public.
                                      -   -   -
                        GOLKOW LITIGATION SERVICES
                    877.370.3377 ph | 917.591.5672 fax
                             deps@golkow.com




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                                             Page 110                                                Page 112
     1               (Document marked for                     1              But I want to go through this,
     2          identification as McGinn Deposition           2   and this is a letter, I take it, that you had
     3          Exhibit No. 9.)                               3   seen prior to 2012; is that right?
     4    BY MR. CARTMELL:                                    4         A. It's hard to see where -- I
     5          Q. I'm handing you two copies of              5   assume that I had.
     6    Exhibit 9, one for you and one for your counsel.    6         Q. Well, am I right that there are a
     7    This is produced from Teva's files in this          7   series of letters that were sent to
     8    litigation, and I will represent to you that        8   manufacturers and distributors of
     9    this was information that came from your file.      9   opioid-containing products from a man named
    10               You'll see from the e-mail on the       10   Joseph Rannizzisi?
    11    first page of this document, there's an e-mail     11         A. Yes.
    12    from LeighAnn Tulleson dated June 15, 2012 to      12         Q. Okay. And I know that you are
    13    you and many others, and the subject is "DEA       13   familiar with Mr. Rannizzisi, correct?
    14    Suspicious Order Monitoring Program."              14         A. Yes.
    15               Do you see that?                        15         Q. You have had dealings with him,
    16          A. Yes.                                      16   pretty extensive dealings with him in the past;
    17          Q. It states, "we have scheduled a           17   is that fair?
    18    meeting to discuss the DEA suspicious order        18         A. Not personally. I may have
    19    monitoring program and its impact to Teva and      19   talked to him once or twice.
    20    our customers."                                    20         Q. At any rate, these letters, the
    21               It states, "This launch meeting         21   series of letters that are attached, and I think
    22    is critical to the overall understanding of the    22   there's three, are commonly known as the
    23    issues and will require each of the parties        23   Rannizzisi letters, correct?
    24    listed on this memo to attend."                    24         A. I had not called them that. I

                                             Page 111                                                Page 113
     1             You see that?                              1   had not heard that.
     2         A. Yes.                                        2         Q. What do you call them?
     3         Q. Okay. So it looks like as of                3         A. Distributor letters.
     4   June of 2012, which is not long after you            4         Q. Okay. And I take it that you
     5   started at Teva, is that fair, within a year?        5   were familiar with these letters even back at
     6         A. Yes.                                        6   Cephalon, before you started at Teva?
     7         Q. There was going to be a launch              7         A. Yes.
     8   meeting to discuss the suspicious order              8         Q. Okay. And let's go through this
     9   monitoring program?                                  9   February 7, 2007 letter, you see the date, and
    10         A. That's what it looks like.                 10   you can see that this is a letter from the Drug
    11         Q. Okay. Attached to this e-mail              11   Enforcement Administration out of Washington,
    12   that you received is a series of letters from       12   DC.
    13   the U.S. Department of Justice Drug Enforcement     13               It states, Dear Sir or Madam,
    14   Administration; is that right?                      14   this letter is being sent to every commercial
    15         A. Yes.                                       15   entity in the United States registered with the
    16         Q. And I want to talk to you                  16   Drug Enforcement Administration to distribute
    17   specifically about the one that is actually a       17   controlled substances. The purpose of this
    18   crummy copy, but it's dated February 7, 2007.       18   letter is to reiterate the responsibilities of
    19             Do you see that?                          19   controlled substance distributors in view of the
    20         A. That's a bad copy for sure.                20   prescription drug abuse problem in our -- our
    21         Q. Well, we got this from the files,          21   nation currently faces.
    22   and, unfortunately, we were looking for a better    22               Do you see that?
    23   copy, but we couldn't find one, so we'll have to    23         A. Yes.
    24   make our way through this, if you don't mind.       24         Q. Okay. So would you agree with me


                                                                       29 (Pages 110 to 113)
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                                             Page 114                                                Page 116
     1    that that was the purpose of these letters was      1   manufacture of controlled substances?
     2    to put or to reiterate to manufacturers of          2         A. Yes.
     3    opioid drugs and other controlled substances and    3              MR. ANDRISANI: Objection, form.
     4    distributors of these drugs of their                4   BY MR. CARTMELL:
     5    responsibilities related to the law that applies    5         Q. Including opioid-containing
     6    to manufacturing and selling controlled             6   products?
     7    substances?                                         7              MR. ANDRISANI: Objection, form.
     8               MR. ANDRISANI: Objection, form.          8              THE WITNESS: Yes.
     9               THE WITNESS: Yes.                        9   BY MR. CARTMELL:
    10    BY MR. CARTMELL:                                   10         Q. The Controlled Substances Act was
    11          Q. And it looks like the DEA was             11   designed by Congress to combat diversion by
    12    reiterating the law that applied to                12   providing for a closed system of drug
    13    manufacturers and distributors of opioids at       13   distribution.
    14    this time because there was an emerging            14              What does it mean to be a closed
    15    controlled substance prescription drug problem,    15   system?
    16    correct?                                           16         A. The way it's been --
    17               MR. ANDRISANI: Object to the            17              MR. ANDRISANI: Object to form.
    18          form.                                        18              THE WITNESS: -- described to us
    19               THE WITNESS: I assume that's            19         is that controlled substances would only
    20          why.                                         20         be shipped to DEA registrants.
    21    BY MR. CARTMELL:                                   21   BY MR. CARTMELL:
    22          Q. And this was back in 2007, right?         22         Q. And then it says further down,
    23          A. Yes.                                      23   "If the closed system is to function properly as
    24          Q. It states, "Background, as each           24   Congress envisioned, distributors must be

                                             Page 115                                                Page 117
     1    of you is undoubtedly aware, the abuse              1   vigilant in deciding whether a prospective
     2    (nonmedical use) of controlled prescription         2   customer can be trusted to deliver controlled
     3    drugs is a serious and growing health problem in    3   substances only for lawful purposes. This
     4    this country. DEA has an obligation to combat       4   responsibility is critical, as Congress has
     5    this problem, as one of the agency's core           5   expressly declared that the illegal distribution
     6    functions is to prevent the diversion of            6   of controlled substances has a substantial and
     7    controlled substances into illicit channels."       7   detrimental effect on the health and general
     8               Do you see that?                         8   welfare of the American people."
     9          A. Yes.                                       9             Do you see that?
    10          Q. What does that mean, "illicit             10         A. Yes.
    11    channels"?                                         11         Q. And do you agree with that?
    12               MR. ANDRISANI: Object to form.          12             MR. ANDRISANI: Objection to
    13               THE WITNESS: I'm going to assume        13         form.
    14          that he means that it ends up anywhere       14             THE WITNESS: Yes.
    15          than where it was intended to go.            15   BY MR. CARTMELL:
    16    BY MR. CARTMELL:                                   16         Q. Now, it then talks about actually
    17          Q. Okay. "Congress assigned DEA to           17   the law that manufacturers and distributors are
    18    carry out this function through enforcement of     18   bound by related to the sale and manufacture of
    19    the Controlled Substances Act and DEA              19   controlled substances, correct?
    20    regulations that implement the Act."               20             MR. ANDRISANI: Objection, form.
    21               So does that mean that actually         21             THE WITNESS: I'm sorry.
    22    the Drug Enforcement Administration is the         22         Could -- I missed it. Sorry, I was
    23    agency that Congress has given the power to        23         reading.
    24    enforce the law related to the sale and            24   BY MR. CARTMELL:


                                                                       30 (Pages 114 to 117)
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                                             Page 118                                                Page 120
     1           Q. Sorry I interrupted you. Were             1   BY MR. CARTMELL:
     2    you done?                                           2        Q. Go ahead.
     3           A. I'm done. I'm sorry.                      3        A. It's U.S. code.
     4           Q. We'll talk about the rest of the          4        Q. Okay. "Listed first among these
     5    letter in some detail, but I want to -- I was       5   factors is the duty of distributors to maintain
     6    just pointing out that the rest of the letter       6   effective controls against diversion of
     7    actually talks about the regulations and the law    7   controlled substances into other than legitimate
     8    that applies and that the DEA is enforcing,         8   medical, scientific and industrial channels."
     9    correct?                                            9             Do you see that?
    10           A. Yes.                                     10        A. Yes.
    11           Q. And one of the things, just so           11        Q. And so that just means that every
    12    it's clear for the jury, that is important to      12   manufacturer or distributor of opioid-containing
    13    know is that companies like Teva, for example,     13   products and other controlled substances, they
    14    because they sell and manufacture                  14   have to make sure that they actually have
    15    opioid-containing products, they have to           15   effective controls against diversion of those
    16    register with the DEA to be able to do that; is    16   drugs in place, correct?
    17    that right?                                        17             MR. ANDRISANI: Objection, form.
    18           A. Yes.                                     18             THE WITNESS: Yes.
    19           Q. And is it true that they become          19   BY MR. CARTMELL:
    20    known as a registrant, for example, is that        20        Q. For example, if Teva had
    21    referred to?                                       21   ineffective controls that weren't working, then
    22           A. Yes.                                     22   that would not be compliant with the law,
    23           Q. Okay. And that registration, is          23   correct?
    24    it true, provides, for example, Teva a license     24             MR. ANDRISANI: Objection, form.

                                             Page 119                                                Page 121
     1   that allows them through their multiple              1             THE WITNESS: Yes.
     2   facilities to go ahead and distribute those          2   BY MR. CARTMELL:
     3   opioids?                                             3         Q. It states, In addition,
     4         A. Yes.                                        4   distributors must comply with appropriate state
     5         Q. Okay. And so, for example, if               5   and local law. Congress also gave DEA authority
     6   Teva had its license suspended or pulled from        6   under this provision to revoke a registration
     7   the DEA to sell or manufacture opioid-containing     7   based on the distributor's past experience in
     8   products, then they would no longer be able to       8   the distribution of controlled substances and
     9   sell those; is that fair?                            9   based on such other factors as may be relevant.
    10         A. Yeah, they would not be able               10              Do you see that?
    11   to -- not just sell but they would not be able      11             "Relevant to and consistent with
    12   to transfer drug anywhere.                          12   the public health and safety."
    13         Q. If you go to the second page in            13              Do you see that?
    14   the third paragraph it states, the statutory        14         A. Yes.
    15   factors DEA must consider in deciding whether to    15         Q. Okay. Now, I want to focus on
    16   revokes a distributor's registration are            16   this next section, because this next section is
    17   contained in 21 U.S.C. 823(e).                      17   talking specifically about something called
    18              Do you see that?                         18   suspicious orders of controlled substances.
    19         A. Yes.                                       19              Do you see that?
    20         Q. So when you talk about statutes            20         A. Yes.
    21   and all that, that's legal mumbo-jumbo, that's      21         Q. Tell us what suspicious orders of
    22   the actual -- that's the law, right?                22   controlled substances means?
    23              MR. ANDRISANI: Objection, form.          23         A. Would you like me to read what
    24              THE WITNESS: U.S. Code.                  24   the regulation states.


                                                                       31 (Pages 118 to 121)
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                                             Page 122                                                Page 124
     1           Q. I'll withdraw the question, and           1   example, we want 4,000 pills, is it -- does it
     2    I'll read it, okay.                                 2   happen that way? Do they ask by the pill?
     3                Let's go through this section,          3        A. They don't call me to place an
     4    and I'm going to follow up and ask you some         4   order, so I don't know exactly how they do it,
     5    questions.                                          5   but I assume it's by carton or bottle or NDC. I
     6                "The DEA regulations require all        6   don't know.
     7    distributors to report suspicious orders of         7         Q. Okay. But you're actually
     8    controlled substances. Specifically, the            8   responsible as the DEA director at Teva for the
     9    regulations state the registrant shall design       9   suspicious order monitoring program, aren't you?
    10    and operate a system to disclose to the            10        A. I don't physically go and review
    11    registrant suspicious orders of controlled         11   orders. I am responsible -- ultimately
    12    substances. The registrant shall inform the        12   responsible for it, but I don't actually process
    13    Field Division Office of the Administration in     13   the orders or investigate them.
    14    his area of suspicious orders when discovered by   14         Q. Okay. So a customer might
    15    the registrant. Suspicious orders include          15   contact Teva and say we want cartons -- X number
    16    orders of unusual size, order deviating            16   of cartons of opioids or bottles of opioids,
    17    substantially from a normal pattern and orders     17   something like that, fair?
    18    of unusual frequency."                             18         A. Yes.
    19                Do you see that?                       19             MR. ANDRISANI: Objection, form.
    20           A. Yes.                                     20   BY MR. CARTMELL:
    21           Q. Okay. So let me see if I can             21         Q. And this is saying that Teva, as
    22    interpret that for the jury.                       22   a company, has to monitor those orders from its
    23                Does that mean that, for example,      23   customers and make sure they're not suspicious,
    24    Teva at all times when they are licensed and       24   right?


                                             Page 123                                                Page 125
     1   selling, for example, opioid-containing              1             MR. ANDRISANI: Objection, form.
     2   products, they have to have what's called a          2             THE WITNESS: Yes.
     3   suspicious ordering monitoring program in place?     3   BY MR. CARTMELL:
     4              MR. ANDRISANI: Objection, form.           4         Q. And if Teva finds that these
     5              THE WITNESS: If they are selling          5   orders from its customers who are buying these
     6         commercial product, yes.                       6   opioids are suspicious, then this says that
     7   BY MR. CARTMELL:                                     7   those orders have to be actually reported to the
     8         Q. Okay. And so the DEA requires               8   DEA, correct?
     9   and the law requires, according to the               9             MR. ANDRISANI: Objection, form.
    10   regulations, that if Teva, for example, is going    10             THE WITNESS: Correct.
    11   to sell these opioids, that they have to put a      11   BY MR. CARTMELL:
    12   program in place that is going to effectively       12         Q. And if there are suspicious
    13   identify suspicious orders of opioids, correct?     13   orders from customers to Teva, actually, Teva is
    14              MR. ANDRISANI: Objection to              14   not supposed to go and ship those bottles or
    15         form.                                         15   crates of opioids to the customer, right?
    16              THE WITNESS: Yes.                        16             MR. ANDRISANI: Objection, form.
    17   BY MR. CARTMELL:                                    17             THE WITNESS: Yes.
    18         Q. In other words, if Teva has                18   BY MR. CARTMELL:
    19   customers, and I take it that they do, who          19         Q. And this process called
    20   contact Teva and they say, "we want to buy or       20   suspicious order monitoring is part of the law
    21   purchase some of your opioid-containing             21   that says Teva has to have effective safeguards
    22   products," that's happens, doesn't it?              22   in place to prevent diversion of these opioids
    23         A. Yes.                                       23   or controlled substances, right?
    24         Q. And the customer says, for                 24             MR. ANDRISANI: Objection, form.


                                                                       32 (Pages 122 to 125)
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     1              THE WITNESS: Yes.                         1          suspicious, we have an obligation not to
     2    BY MR. CARTMELL:                                    2          ship.
     3          Q. Okay. Now, Teva also has, as a             3   BY MR. CARTMELL:
     4    part of this law and these regulations from the     4          Q. You have an obligation not to
     5    DEA, also has the responsibility to make sure       5   ship, but when this talks about due diligence,
     6    that they investigate if they find suspicious       6   you also have an obligation to investigate,
     7    orders from their customers for opioids; is that    7   right?
     8    right?                                              8              MR. ANDRISANI: Objection, form.
     9              MR. ANDRISANI: Objection, form.           9              THE WITNESS: We investigate any
    10              THE WITNESS: We investigate              10          order that's pended in the system, and
    11          orders of interest and report suspicious     11          then if we do our due diligence on that
    12          orders. We have that obligation.             12          and we determine that it's a suspicious
    13    BY MR. CARTMELL:                                   13          order, then we have to report it.
    14          Q. That's the duty of Teva to do             14   BY MR. CARTMELL:
    15    that, correct?                                     15          Q. So would you agree with me that
    16          A. Yes.                                      16   it's the responsibility of manufacturers and
    17              MR. ANDRISANI: Objection to              17   distributors of opioids, including Teva, and
    18          form.                                        18   when you were at Cephalon as well, that if they
    19    BY MR. CARTMELL:                                   19   have potentially suspicious order, their duty
    20          Q. And if you go down it states, "It         20   and responsibility is to investigate that order?
    21    bears emphasis that the foregoing reporting        21          A. Yes.
    22    requirement is in addition to, and not in lieu     22          Q. Okay. And if the company fails
    23    of, the general requirement under 21 U.S.C.        23   to investigate those potentially suspicious
    24    823(e) that a distributor maintain effective       24   orders, then they have breached their duty and

                                             Page 127                                                Page 129
     1    controls against diversion."                        1   responsibility, correct?
     2              Do you see that?                          2               MR. ANDRISANI: Objection, form.
     3          A. Yes.                                       3               THE WITNESS: Yes.
     4          Q. "Thus, in addition to reporting            4   BY MR. CARTMELL:
     5    all suspicious orders, a distributor has a          5         Q. And if Teva, for instance, has a
     6    statutory responsibility to exercise due            6   suspicious order monitoring system or fails to
     7    diligence to avoid filling suspicious orders        7   have one that is effective and is actually
     8    that might be diverted into other than              8   identifying suspicious orders and they're not
     9    legitimate medical, scientific and industrial       9   investigating those properly, then they will
    10    channels."                                         10   have breached their duty and responsibility,
    11              Do you see that?                         11   correct?
    12          A. Yes.                                      12               MR. ANDRISANI: Objection, form.
    13          Q. Okay. Let's talk about that due           13               THE WITNESS: We have an
    14    diligence. If I'm reading this correctly, and      14         obligation to make sure that we have an
    15    correct me if I'm wrong, the DEA is saying that    15         effective system in place.
    16    Teva, for example, when selling and                16   BY MR. CARTMELL:
    17    manufacturing opioids, when they get suspicious    17         Q. I understand that. My question
    18    orders, they can't just fill those orders, they    18   is a little bit different.
    19    actually have to investigate and do due            19               If, in fact, Teva, for instance,
    20    diligence to determine or make sure that those     20   has a suspicious order monitoring system that is
    21    opioid pills are not going to be diverted to       21   not effective and it isn't adequately
    22    illegal and illicit places, correct?               22   identifying suspicious orders, and it's not --
    23              MR. ANDRISANI: Objection, form.          23   and those orders are not adequately being
    24              THE WITNESS: If it's deemed              24   investigated by the company, then Teva would


                                                                       33 (Pages 126 to 129)
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     1    have breached its duties and responsibilities,      1   deaths with rising prescriptions, and it's true
     2    according to the DEA regulations, correct?          2   that the law we just talked about and that the
     3              MR. ANDRISANI: Objection, form.           3   DEA in its letter of 2007 was reiterating is
     4              THE WITNESS: I just want to say           4   that at all times, for example, from 2000 until
     5         that the suspicious order monitoring has       5   2012 that law requiring Teva, for example, to
     6         been a moving target, and what was             6   have effective -- effective systems in place to
     7         effective in one year -- considered            7   prevent diversion, that was in effect, correct?
     8         effective in one year may not have been        8              MR. ANDRISANI: Objection, form.
     9         considered effective in another year.          9              THE WITNESS: Yes.
    10         So, you know, we try to monitor DEA           10   BY MR. CARTMELL:
    11         action to see where they're headed with       11         Q. In other words, the law that
    12         it, because they're basically                 12   we're talking about was in effect in 2000 and
    13         promulgating rules without writing            13   2001, all the way up to 2008, 2009, all the way
    14         regulations, updating regulations, so we      14   to 2012, and it's still in effect today?
    15         try to monitor that. What I'm saying is       15         A. Yes.
    16         it depends on the time that you were          16              MR. ANDRISANI: Objection, form.
    17         looking at the system in determining          17   BY MR. CARTMELL:
    18         whether it was effective or not. But at       18         Q. And so at all times, even back in
    19         the time, it should have been effective       19   2004, 2003, any times from 2000 on, Teva had
    20         with the information that we knew at the      20   that duty to have in effect a suspicious order
    21         time.                                         21   monitoring program, correct?
    22    BY MR. CARTMELL:                                   22              MR. ANDRISANI: Objection, form.
    23         Q. I appreciate that. I'm going to            23              THE WITNESS: Yes.
    24    object and move to strike, and I'm going to ask    24   BY MR. CARTMELL:

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     1    you again and see if I can get an answer to that    1         Q. And Teva had the duty during that
     2    question.                                           2   period of time all the way back to 2004 or
     3         A. Okay.                                       3   whenever it was they started selling controlled
     4         Q. And we'll talk about that in more           4   substances, they needed to have effective
     5    detail, but, Ms. McGinn, if, in fact, Teva had a    5   systems, including a suspicious order monitoring
     6    suspicious order monitoring program that was        6   program, in place that would prevent diversion
     7    ineffective and not adequately identifying          7   of opioids, correct?
     8    suspicious orders and those orders that were        8             MR. ANDRISANI: Objection, form.
     9    pended, when they did identify suspicious           9             THE WITNESS: Yes.
    10    orders, were not being adequately investigated,    10   BY MR. CARTMELL:
    11    then Teva, according to the regulations of the     11         Q. Okay. In other words, Teva
    12    DEA, would have breached its duty and              12   couldn't start that program in 2010 or 2012, and
    13    responsibility, fair?                              13   if they did that, they would have breached their
    14              MR. ANDRISANI: Objection, form.          14   duties and responsibilities to do that prior to
    15              THE WITNESS: Yes.                        15   that time, fair?
    16    BY MR. CARTMELL:                                   16             MR. ANDRISANI: Objection, form.
    17         Q. Go ahead.                                  17             THE WITNESS: Yes.
    18         A. Yes.                                       18   BY MR. CARTMELL:
    19         Q. I want to go back to Exhibit 7,            19         Q. And would you agree with me,
    20    if you would, and I just want to ask you a         20   Ms. McGinn, that if Teva did not monitor
    21    question, and I think this gives us a good way     21   effectively for suspicious orders or in a
    22    to demonstrate for the jury what I'm asking        22   responsible way and that actually contributed to
    23    about.                                             23   the epidemic, then Teva would be responsible for
    24              Now, this graph shows rising             24   that?


                                                                       34 (Pages 130 to 133)
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     1                MR. ANDRISANI: Objection, form.         1              THE VIDEOGRAPHER: Going off the
     2                THE WITNESS: If Teva was                2         record at 11:52 a.m.
     3          responsible for that, it certainly was        3              (Luncheon recess.)
     4          never intentional.                            4              THE VIDEOGRAPHER: We are back on
     5    BY MR. CARTMELL:                                    5         the record at 12:38.
     6          Q. I understand that. My question             6   BY MR. CARTMELL:
     7    is a little different, though, and I'm not          7         Q. Ms. McGinn, we're back on the
     8    trying to put words in your mouth either, but       8   record after a lunch break. Are you ready to
     9    would you agree with me that if Teva, in the        9   proceed?
    10    past, has not had effective systems in place to    10         A. I am, thank you.
    11    prevent diversion, including a suspicious order    11         Q. Did you have a nice lunch?
    12    monitoring program for suspicious orders of        12         A. I've had better, but I've had
    13    opioids, if that system has not been effectively   13   worse too so we're okay.
    14    in place and has not been diverting opioids,       14         Q. Okay, good.
    15    that could contribute to the epidemic, correct?    15              Well, before we broke for lunch,
    16                MR. ANDRISANI: Objection, form.        16   we were talking about, you'll recall, Exhibit 9,
    17                THE WITNESS: In some way, yeah.        17   which is the Rannizzisi letter that was sent
    18          I mean, we were just one part of the         18   from the Drug Enforcement Administration to,
    19          supply chain. There were many other          19   among others, manufacturers and distributors of
    20          steps in the process before it got to a      20   opioids.
    21          patient for a death.                         21              You recall our conversation in
    22    BY MR. CARTMELL:                                   22   that regard?
    23          Q. And I'm not trying to say that            23         A. Yes.
    24    Teva would be solely responsible for that, but     24         Q. Okay. And I don't think I made


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     1    if Teva didn't follow the DEA regulations and       1   this point, but I want to, and I don't mean to
     2    have effective systems in place to prevent          2   put words in your mouth, but is it true that
     3    diversion, they could be a contributor or would     3   these laws that require opioid manufacturers and
     4    be a contributor to the epidemic, correct?          4   distributors to have safeguards that are
     5              MR. ANDRISANI: Objection, form.           5   effective in place to prevent diversion of those
     6              THE WITNESS: In some way, yes.            6   drugs, those laws are for safety purposes,
     7    BY MR. CARTMELL:                                    7   correct?
     8         Q. Okay. And the same is true with             8              MR. ANDRISANI: Objection, form.
     9    other manufacturers of opioids and distributors     9              THE WITNESS: I'm sure that's one
    10    of opioids; they too could be contributors if      10         aspect.
    11    they didn't do a good job and have appropriate     11   BY MR. CARTMELL:
    12    systems in place to prevent diversion of           12         Q. In other words, safety of
    13    opioids, correct?                                  13   individuals so that the drugs aren't diverted to
    14              MR. ANDRISANI: Objection, form.          14   people who could abuse them or not even abuse
    15              THE WITNESS: Yes.                        15   them and have overdoses and hospitalizations and
    16    BY MR. CARTMELL:                                   16   deaths, things like that, fair?
    17         Q. Okay. And if, in fact, that's              17              MR. ANDRISANI: Objection to
    18    the case, then, for example, would you believe,    18         form.
    19    in your opinion, that Teva would be partly         19              THE WITNESS: It's there for
    20    responsible for the epidemic?                      20         legitimate medical need.
    21              MR. ANDRISANI: Objection, form.          21   BY MR. CARTMELL:
    22              THE WITNESS: In some part, yes.          22         Q. Okay. All right. Now, in
    23              MR. CARTMELL: Let's take a               23   preparation for your deposition today, did you
    24         break.                                        24   read the deposition of Mr. Tomkiewicz?


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      1   didn't know whether or not that meant compliant     1   the DEA has said, is to get to know your
      2   with DEA regulations?                               2   customers, correct?
      3              MR. ANDRISANI: Objection, asked          3              MR. ANDRISANI: Objection, form.
      4         and answered.                                 4              THE WITNESS: Yes.
      5              THE WITNESS: What I'm saying is          5   BY MR. CARTMELL:
      6         I'm not sure what the person who wrote        6         Q. And do investigation on your
      7         this intended that to say.                    7   customers to see if possibly they're involved in
      8   BY MR. CARTMELL:                                    8   suspicious activity related to controlled
      9         Q. Okay. At any rate, whoever wrote           9   substances, correct?
     10   this intended to say that the suspicious order     10              MR. ANDRISANI: Objection, form.
     11   monitoring program and the Know your Customer      11              THE WITNESS: Yes.
     12   program were putting the company at risk related   12   BY MR. CARTMELL:
     13   to DEA sanctions, and that needed to be the        13         Q. And what this document says is
     14   company's highest priority to make improvements    14   that at this time, Teva was not compliant in
     15   and close the gaps, correct?                       15   that regard, correct?
     16              MR. ANDRISANI: Objection, form.         16              MR. ANDRISANI: Objection.
     17         It misstates what's on the paper.            17              THE WITNESS: That's what it says
     18   BY MR. CARTMELL:                                   18         here.
     19         Q. Go ahead.                                 19   BY MR. CARTMELL:
     20         A. It says that it was a risk and we         20         Q. I want to ask you -- strike that.
     21   should give it high priority.                      21              And then if you go through the
     22         Q. Okay. Below it says, "DEA will            22   next several pages, there is information put
     23   use its authority to revoke and suspend            23   together that summarizes, for example, the law
     24   registrations in appropriate cases."               24   that we already went through from the DEA

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      1              You see that?                            1   letter, correct?
      2         A. Yes.                                       2         A. Yes.
      3         Q. Does that help you to understand           3         Q. And it -- you had gathered
      4   where it says under number 2 Know your Customer     4   information on what the best practices were for
      5   program if they were talking about not being        5   a suspicious order monitoring program, correct?
      6   compliant with the DEA?                             6              MR. ANDRISANI: Objection as to
      7         A. I would assume that that's what            7         form with respect to her preparing this.
      8   they were referencing.                              8              THE WITNESS: This document does
      9         Q. Okay. Know your Customer                   9         contain information about other
     10   program, tell the jury what that is?               10         companies.
     11         A. It's looking into your customers,         11   BY MR. CARTMELL:
     12   knowing the background, the officers. It's due     12         Q. I'll restate it to hopefully take
     13   diligence on your customer.                        13   care of the objection.
     14         Q. And we saw the phrase due                 14              And then the attachment pages
     15   diligence in the law from Mr. Rannizzisi in his    15   also include information that you or somebody
     16   letter, correct?                                   16   gathered about what the best practices are
     17         A. I think so.                               17   related to having a suspicious order monitoring
     18         Q. And so the law requires for               18   program, correct?
     19   manufacturers and sellers of opioids like Teva     19         A. It looks like information that
     20   that if they have potentially suspicious orders,   20   was available. I don't -- I have to look
     21   they have to do due diligence and actually do      21   through it to see if it's best practices
     22   investigation of those, correct?                   22   necessarily. Oh, there is best practices.
     23         A. Yes.                                      23         Q. You see that?
     24         Q. And part of that investigation,           24         A. Yes.


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      1   acquisition. He came with Actavis.                  1         Q. And you say he has lost his mind.
      2         Q. Okay. But, originally, before              2   What does that mean he has lost his mind?
      3   joining Actavis, he was with Purdue?                3         A. I don't remember why I said that.
      4         A. I believe so.                              4   I just thought it was a very one-sided view and
      5         Q. Okay. And you write here                   5   that he basically blamed everything on the
      6   regarding 60 Minutes -- do you recall watching a    6   pharmaceutical industry.
      7   60 Minutes segment on opioids?                      7         Q. Okay. And then Mr. Zerillo
      8         A. I do.                                      8   responds back, "LOL," is that lots of laughing,
      9         Q. Okay. And can you briefly                  9   is that what that stands for?
     10   describe for me what the segment was that you      10         A. You'd have to ask him, but I
     11   saw on 60 Minutes?                                 11   assume so.
     12         A. It was -- if I remember                   12         Q. And it says, "Joe just made a lot
     13   correctly, it was a interview with Joe             13   of friends?"
     14   Rannizzisi talking about suspicious orders or      14             Right?
     15   the opioid epidemic in general.                    15         A. Yes.
     16         Q. And we heard about Mr. Rannizzisi         16         Q. And you respond to him, "Right?
     17   earlier. He had written those letters back in      17   I guess he's not interested in working for
     18   2006 and '07, correct?                             18   industry."
     19         A. Yes.                                      19             Correct?
     20         Q. And you had those letters back            20         A. Yes.
     21   around that time frame, right?                     21         Q. What do you mean he's not
     22         A. Yes.                                      22   interested in working for industry?
     23         Q. And you write here to                     23         A. That he would not be able to work
     24   Mr. Zerillo, "Did you see this last night? My      24   for a pharmaceutical company.

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      1   first thought was that Joe Rannizzisi has lost      1        Q. But he works for the DEA. Why
      2   his mind and the second was that it was a very      2   would he work --
      3   one-sided story."                                   3        A. He wasn't --
      4             Is that correct?                          4        Q. -- for a pharmaceutical company?
      5          A. That is correct.                          5        A. He wasn't working for DEA at the
      6          Q. And why was it one-sided?                 6   time of this interview.
      7          A. It only presented information             7        Q. Is it your experience that a lot
      8   from -- about pharmaceutical industry and not       8   of people who leave the DEA go work in the
      9   the part that doctors played in the whole opioid    9   industry?
     10   epidemic.                                          10             MR. ANDRISANI: Objection.
     11          Q. And what was the part about the          11             THE WITNESS: Some do.
     12   -- you said the pharmaceutical industry. What      12             MR. CRAWFORD: Next we'll go to
     13   was the part about the pharmaceutical industry     13        Exhibit 25.
     14   that he was discussing on 60 Minutes?              14             (Document marked for
     15          A. My recollection is that he blamed        15        identification as McGinn Deposition
     16   the entire opioid epidemic on pharmaceutical       16        Exhibit No. 25.)
     17   companies.                                         17             MS. ROLLINS: Counsel, I think
     18          Q. And what did he say they did             18        your exhibit numbers -- i think there
     19   wrong?                                             19        might have been two 23s and two 24s?
     20             MR. ANDRISANI: Objection.                20             MR. CRAWFORD: I think we're
     21   BY MR. CRAWFORD:                                   21        sequential, okay. Yeah, they're great.
     22          Q. If you recall.                           22        Thank you, though.
     23          A. I don't remember exactly what he         23             MS. HUDNALL: 21 and 22 were out
     24   said.                                              24        of order.


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